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                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA

IN RE:                              )
                                    )     Chapter 13
LINDA F. HILL                       )
                                    )     Case No. 19-60145-EJC
            Debtor                  )

          DEBTOR’S RESPONSE TO TRUSTEE'S MOTION TO DISMISS

      COMES NOW, counsel for the above-captioned Debtor and

files this response to the Trustee's motion to dismiss and

requests the Court to set a hearing in this matter.

       Due to changes in Debtor’s financial situation she has

fallen behind with her payments to the Chapter 13 Trustee.

      Debtor respectfully requests this Court to set this matter

down for a hearing to determine her ability to continue

payments in the Chapter 13 plan.

      Respectfully submitted this 17th day of October, 2019.

                                                H. LEHMAN FRANKLIN, P.C.

                                                /s/ Kimberly S. Ward
                                                Kimberly S. Ward
                                                Georgia Bar No. 682042
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                          CERTIFICATE OF SERVICE


      This is to certify that I have this day electronically

served the foregoing Debtor’s Response to Trustee's Motion to

Dismiss upon O. Byron Meredith, III, Chapter 13 Trustee.

      This 17th day of October, 2019.

                                                H. LEHMAN FRANKLIN, P.C.

                                                /s/ Kimberly S. Ward
                                                Kimberly S. Ward
                                                Georgia Bar No. 682042
                                                Attorney for Debtor
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